Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 1 of 62 PageID #: 242




                   EXHIBIT F
               Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 2 of 62 PageID #: 243
       SUBSCRIBE                     CONTACT US             CALL US 800-896-2802




                                               HOME   MATTRESS        PILLOWS




                                               TECHNOLOGY




                                                              ®                     ™
                         DORMEO Octaspring
                   BRAND NEW MATTRESS CONCEPT
      a revolutionary surface designed to give you the best sleep of your life by

 delivering superb cooling comfort and cradling memory foam support for your

                                                            entire body.




http://www.dormeo.com/[4/6/2018 10:45:58 AM]
               Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 3 of 62 PageID #: 244




                                               ®
 WHY DORMEO
 As the leader and innovator of the new TRUE HYBRID Bed, DORMEO® is the frst to successfully combine all the benefts of
 alternative bedding and traditional innersprings—without any of the downsides! DORMEO® is the 1st and only mattress in the
 world that breathes.


 A fusion of coil and memory foam technology creating the ultimate hybrid mattress. DORMEO® is cooler than traditional
 memory foam and more comfortable than innerspring mattresses.The secret is DORMEO®’s revolutionary patented
 Octaspring® Technology and ingenious pressure relieving spring made entirely of memory foam. Inside are hundreds of
 Octasprings in varying degrees of frmness built into body-zoned layers.


 Softer for your head and shoulderand frmer for your hips and back. DORMEO® is the leader and creator of the comfort-
 without-compromise Hybrid Category!




http://www.dormeo.com/[4/6/2018 10:45:58 AM]
               Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 4 of 62 PageID #: 245
 TECHNOLOGY                          WARRANTY INFO


 MATTRESS                            REGISTER PRODUCT


 PILLOWS                             PRIVACY POLICY


 REVIEWS                             ACCESSIBILITY


 FAQS                                TERMS & CONDITIONS

                                               Copyright © Dormeo 2018 - All Rights Reserved




http://www.dormeo.com/[4/6/2018 10:45:58 AM]
               Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 5 of 62 PageID #: 246
        SUBSCRIBE                     CONTACT US                   CALL US 800-896-2802




                                              HOME          MATTRESS         PILLOWS




                                              TECHNOLOGY


                                                           SUBSCRIBE
            Please enter your e-mail address in the feld below to subscribe to our special offers & updates.




                                                                  SUBSCRIBE




 TECHNOLOGY                           WARRANTY INFO


 MATTRESS                             REGISTER PRODUCT


 PILLOWS                              PRIVACY POLICY


 REVIEWS                              ACCESSIBILITY


 FAQS                                 TERMS & CONDITIONS

                                                 Copyright © Dormeo 2018 - All Rights Reserved




http://www.dormeo.com/subscribe-newsletter.html[4/6/2018 10:46:07 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 6 of 62 PageID #: 247
       SUBSCRIBE                    CONTACT US             CALL US 800-896-2802




                                            HOME        MATTRESS     PILLOWS




                                            TECHNOLOGY




                                                             ®                     ™
                        DORMEO Octaspring
                   BRAND NEW MATTRESS CONCEPT
      a revolutionary surface designed to give you the best sleep of your life by

 delivering superb cooling comfort and cradling memory foam support for your

                                                          entire body.




http://www.dormeo.com/home.html[4/6/2018 10:46:16 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 7 of 62 PageID #: 248




                                                 ®
 WHY DORMEO
 As the leader and innovator of the new TRUE HYBRID Bed, DORMEO® is the frst to successfully combine all the benefts of
 alternative bedding and traditional innersprings—without any of the downsides! DORMEO® is the 1st and only mattress in the
 world that breathes.


 A fusion of coil and memory foam technology creating the ultimate hybrid mattress. DORMEO® is cooler than traditional
 memory foam and more comfortable than innerspring mattresses.The secret is DORMEO®’s revolutionary patented
 Octaspring® Technology and ingenious pressure relieving spring made entirely of memory foam. Inside are hundreds of
 Octasprings in varying degrees of frmness built into body-zoned layers.


 Softer for your head and shoulderand frmer for your hips and back. DORMEO® is the leader and creator of the comfort-
 without-compromise Hybrid Category!




http://www.dormeo.com/home.html[4/6/2018 10:46:16 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 8 of 62 PageID #: 249
 TECHNOLOGY                          WARRANTY INFO


 MATTRESS                            REGISTER PRODUCT


 PILLOWS                             PRIVACY POLICY


 REVIEWS                             ACCESSIBILITY


 FAQS                                TERMS & CONDITIONS

                                               Copyright © Dormeo 2018 - All Rights Reserved




http://www.dormeo.com/home.html[4/6/2018 10:46:16 AM]
Dormeo Octaspring Commercial - YouTube
               Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 9 of 62 PageID #: 250
       SUBSCRIBE                      CONTACT US               CALL US 800-896-2802




                                             HOME           MATTRESS     PILLOWS




                                             TECHNOLOGY




                                                                                       ®
                                                    DORMEO
                                                                                            ®
                                                                       Dormeo Unity Sleep
                                                                       System
                                                                          Enjoy togetherness and personalized customization with
                                                                          our DORMEO UNITY Sleep System.
                                                                          Our hi-tech motion base works perfectly with our specially
                                                                          designed DORMEO® Split-Head King Mattress
                                                                          This mattress featuring a split-head (only) allows you to
                                                                          sleep in one bed and enjoy individualized comfort
                                                                          positions—at the same time
                                                                          Available in our 230GX mattress


                                                                         FIND STORE




                                                                                            ®
                                                                       Dormeo 340GXZ
                                                                          15 inch pillow top profle offering a high level of pressure-


http://www.dormeo.com/mattress.html[4/6/2018 10:47:52 AM]
Dormeo Octaspring Commercial - YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 10 of 62 PageID #: 251




                                                            relieving comfort with a Luxury Plush supportive feel.

                                                            Added pillow-top with sensual, contouring comfort

                                                            Top cooling Layer of PCM™ (Phase Change Material)

                                                            Ultra-deep HydraCOOL™ Gel Memory Foam Comfort
                                                            Layer
                                                            Ultra-deep Supreme AirCOOL™ Gel Foam Comfort Layer

                                                            3 patented layers of revolutionary Octaspring®
                                                            Technology
                                                            Durable Ecocell™ Support Core

                                                            Plush cover with Tencel® is softer than silk, cooler than
                                                            linen, more absorbent than cotton and eco-friendly. Our
                                                            360°wave air-mesh sides allow our revolutionary
                                                            Octaspring Technology to breathe. Cover is resistant to
                                                            dust-mites and bacteria.
                                                            Mattress requires no fipping or turning

                                                            15 Year Limited Warranty


                                                            FIND STORE




                                                                              ®
                                                            Dormeo 330GXZ
                                                            14.5 inch profle offering a high level of pressure-relieving
                                                            comfort with a Plush supportive feel.
                                                            Top cooling Layer of PCM™ (Phase Change Material)

                                                            Deep HydraCOOL™ Gel Memory Foam Comfort Layer

                                                            Ultra-deep Supreme AirCOOL™ Gel Foam Comfort Layer

                                                            3 patented layers of revolutionary Octaspring®
                                                            Technology
                                                            Durable Ecocell™ Support Core

                                                            Plush cover with Tencel® is softer than silk, cooler than
                                                            linen, more absorbent than cotton and eco-friendly. Our
                                                            360° wave air-mesh sides allow our revolutionary



http://www.dormeo.com/mattress.html[4/6/2018 10:47:52 AM]
Dormeo Octaspring Commercial - YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 11 of 62 PageID #: 252
                                                            Octaspring Technology to breathe. Cover is resistant to
                                                            dust-mites and bacteria.

                                                            Mattress requires no fipping or turning

                                                            15 Year Limited Warranty


                                                            FIND STORE




                                                                              ®
                                                            Dormeo 330GX
                                                            14.5 inch profle offering a high level of pressure-relieving
                                                            comfort witha Plush supportive feel.
                                                            Deep HydraCOOL™ Gel Memory Foam Comfort Layer

                                                            Ultra-deep Supreme AirCOOL™ Gel Foam Comfort Layer

                                                            3 patented layers of revolutionary Octaspring®
                                                            Technology
                                                            Durable Ecocell™ Support Core

                                                            Plush cover with Tencel® is softer than silk, cooler than
                                                            linen, more absorbent than cotton and eco-friendly. Our
                                                            360° wave air-mesh sides allow our revolutionary
                                                            Octaspring Technology to breathe. Cover is resistant to
                                                            dust-mites and bacteria.
                                                            Mattress requires no fipping or turning

                                                            15 Year Limited Warranty


                                                            FIND STORE




                                                                              ®
                                                            Dormeo 240GXZ
                                                            14 inch profle offering a high level of pressure-relieving
                                                            comfort with a Luxury Plush supportive feel.
                                                            Top cooling Layer of PCM™ (Phase Change Material)

                                                            Ultra-deep HydraCOOL™ Gel Memory Foam Comfort


http://www.dormeo.com/mattress.html[4/6/2018 10:47:52 AM]
Dormeo Octaspring Commercial - YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 12 of 62 PageID #: 253




                                                            Layer

                                                            Ultra-deep Supreme AirCOOL™ Gel Foam Comfort Layer

                                                            2 patented layers of revolutionary Octaspring®
                                                            Technology
                                                            Durable Ecocell™ Support Core

                                                            Plush cover with Tencel® is softer than silk, cooler than
                                                            linen, more absorbent than cotton and eco-friendly. Our
                                                            360° wave air-mesh sides allow our revolutionary
                                                            Octaspring Technology to breathe. Cover is resistant to
                                                            dust-mites and bacteria.
                                                            Mattress requires no fipping or turning

                                                            15 Year Limited Warranty


                                                            FIND STORE




                                                                              ®
                                                            Dormeo 230GX
                                                            13 inch profle offering a high level of pressure-relieving
                                                            comfort with a Cushioned Firm supportive feel.
                                                            Deep HydraCOOL™ Gel Memory Foam Comfort Layer

                                                            Ultra-deep Supreme AirCOOL™ Gel Foam Comfort Layer

                                                            2 patented layers of revolutionary Octaspring®
                                                            Technology
                                                            Durable Ecocell™ Support Core

                                                            Plush cover with Tencel® is softer than silk, cooler than
                                                            linen, more absorbent than cotton and
                                                            eco-friendly. Our 360° wave air-mesh sides allow our
                                                            revolutionary Octaspring Technology to breathe. Cover is
                                                            resistant to dust-mites and bacteria.



http://www.dormeo.com/mattress.html[4/6/2018 10:47:52 AM]
Dormeo Octaspring Commercial - YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 13 of 62 PageID #: 254
                                                            Mattress requires no fipping or turning

                                                            15 Year Limited Warranty


                                                            FIND STORE




                                                                              ®
                                                            Dormeo 220G
                                                            12.5 inch profle offering a high level of pressure-relieving
                                                            comfort with a Cushioned Firm supportive feel.
                                                            Ultra-deep Supreme AirCOOL™ Gel Foam Comfort Layer

                                                            2 patented layers of revolutionary Octaspring®
                                                            Technology provide pressure-relieving comfort and 3-
                                                            dimensional adaptability.
                                                            Durable Ecocell™ Support Core

                                                            Plush cover with Tencel® is softer than silk, cooler than
                                                            linen, more absorbent than cotton and eco-friendly. Our
                                                            360° wave air-mesh sides allow our revolutionary
                                                            Octaspring Technology to breathe. Cover is resistant to
                                                            dust-mites and bacteria.
                                                            Mattress requires no fipping or turning

                                                            15 Year Limited Warranty


                                                            FIND STORE




                                                                              ®
                                                            Dormeo 130GX
                                                            11.75 inch profle offering a high level of pressure-
                                                            relieving comfor with a Firm supportive feel.
                                                            Deep HydraCOOL™ Gel Memory Foam Comfort Layer

                                                            Ultra-deep Supreme AirCOOL™ Gel Foam Comfort Layer

                                                            1 patented layer of revolutionary Octaspring®Technology

                                                            Durable Ecocell™ Support Core


http://www.dormeo.com/mattress.html[4/6/2018 10:47:52 AM]
Dormeo Octaspring Commercial - YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 14 of 62 PageID #: 255




                                                            Plush cover with Tencel® is softer than silk, cooler than
                                                            linen, more absorbent than cotton and eco-friendly. Our
                                                            360° wave air-mesh sides allow our revolutionary
                                                            Octaspring Technology to breathe. Cover is resistant to
                                                            dust-mites and bacteria.
                                                            Mattress requires no fipping or turning

                                                            15 Year Limited Warranty


                                                            FIND STORE




                                                                              ®
                                                            Dormeo 120L
                                                            10 inch profle offering a high level of pressure-relieving
                                                            comfort with a Firm supportive feel.
                                                            Ultra-deep Supreme AirCOOL™ Gel Foam Comfort Layer

                                                            1 patented layer of revolutionary Octaspring® Technology

                                                            Durable Ecocell™ Support Core

                                                            Plush cover with touchable soft-silkiness. Our 360° wave
                                                            air-mesh sides allow our revolutionary Octaspring
                                                            Technology to breathe. Cover is resistant to dust-mites
                                                            and bacteria.
                                                            Mattress requires no fipping or turning

                                                            15 Year Limited Warranty


                                                            FIND STORE



http://www.dormeo.com/mattress.html[4/6/2018 10:47:52 AM]
Dormeo Octaspring Commercial - YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 15 of 62 PageID #: 256



                                                                              ®
                                                            Dormeo 320L
                                                            12 inch profle offering a high level of pressure-relieving
                                                            comfort with an Ultra Plush supportive feel.
                                                            Ingenious Comfort Layer with sensual, buoyant, all-
                                                            natural latex for contouring comfort with a traditional
                                                            bounce
                                                            3 patented layers of revolutionary Octaspring®
                                                            Technology
                                                            Durable Ecocell™ Support Core

                                                            Plush cover with Tencel® is softer than silk, cooler than
                                                            linen, more absorbent than cotton and eco-friendly. Our
                                                            360° wave air-mesh sides allow our revolutionary
                                                            Octaspring Technology to breathe. Cover is resistant to
                                                            dust-mites and bacteria.
                                                            Mattress requires no fipping or turning

                                                            15 Year Limited Warranty


                                                            FIND STORE




                                                                              ®
                                                            Dormeo 220L
                                                            10 inch profle offering a medium level of pressure-
                                                            relieving comfort with a Plush supportive feel.
                                                            Ingenious Comfort Layer with sensual, buoyant, all-
                                                            natural latex for contouring comfort with a traditional
                                                            bounce
                                                            2 patented layers of revolutionary Octaspring®
                                                            Technology
                                                            Durable Ecocell™ Support Core

                                                            Plush cover with Tencel® is softer than silk, cooler than
                                                            linen, more absorbent than cotton and eco-friendly. Our
                                                            360° wave air-mesh sides allow our revolutionary
                                                            Octaspring Technology to breathe. Cover is resistant to
                                                            dust-mites and bacteria.


http://www.dormeo.com/mattress.html[4/6/2018 10:47:52 AM]
Dormeo Octaspring Commercial - YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 16 of 62 PageID #: 257
                                                            Mattress requires no fipping or turning

                                                            10 Year Limited Warranty


                                                            FIND STORE




                                                                              ®
                                                            Dormeo 120L
                                                            8 inch profle offering a medium level of pressure-relieving
                                                            comfort with a Cushioned Firm supportive feel.
                                                            Ingenious Comfort Layer with sensual, buoyant, all-
                                                            natural latex for contouring comfort with a traditional
                                                            bounce
                                                            1 patented layer of revolutionary Octaspring® Technology
                                                            pressure-relieving comfort and 3-dimensional adaptability.
                                                            Durable Ecocell™ Support Core

                                                            Plush cover with both comfort and peace of mind
                                                            featuring sustainable resources and the soft-silkiness of
                                                            resilient bamboo. Our 360° wave air-mesh sides allow our
                                                            revolutionary Octaspring Technology to breathe. Cover is
                                                            resistant to dust-mites and bacteria.
                                                            Mattress requires no fipping or turning

                                                            10 Year Limited Warranty


                                                            FIND STORE




                                                                              ®
                                                            Dormeo C130GX
                                                            14.5 inch profle offering a high level of pressure-relieving
                                                            comfort with a Medium Plush supportive feel.
                                                            Deep HydraCOOL™ Gel Memory Foam Comfort Layer

                                                            Ultra-deep Supreme AirCOOL™ Gel Foam Comfort Layer

                                                            Octaspring® Technology: 3-zoned, plush memory foam


http://www.dormeo.com/mattress.html[4/6/2018 10:47:52 AM]
Dormeo Octaspring Commercial - YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 17 of 62 PageID #: 258




                                                            MemoryCoils™ provide pressure-relieving comfort and 3-
                                                            dimensional adaptability.
                                                            Ecocell™ Support Layer adds durable stability

                                                            Reinforced 15 / 16 gauge foam-encased coils in three
                                                            body zones. Superior 16 gauge, foam-encased, pocket
                                                            coil edge support.
                                                            Plush cover with touchable soft-silkiness. Our 360° wave
                                                            air-mesh sides allow our revolutionary Octaspring
                                                            Technology to breathe.
                                                            Cover is resistant to dust-mites and bacteria.

                                                            Mattress requires no fipping or turning

                                                            10 Year Limited Warranty


                                                            FIND STORE




                                                                              ®
                                                            Dormeo C120G
                                                            13.5 inch profle offering a high level of pressure-relieving
                                                            comfort with a Cushioned Firm supportive feel.
                                                            Ultra-deep Supreme AirCOOL™ Gel Foam Comfort Layer

                                                            Octaspring® Technology: 3-zoned, plush memory foam
                                                            MemoryCoils™ provide pressure-relieving comfort and 3-
                                                            dimensional adaptability.
                                                            Ecocell™ Support Layer adds durable stability

                                                            Reinforced 15 / 16 gauge foam-encased coils in three
                                                            body zones. Superior 16 gauge, foam-encased, pocket
                                                            coil edge support.
                                                            Plush cover with touchable soft-silkiness. Our 360° wave
                                                            air-mesh sides allow our revolutionary Octaspring


http://www.dormeo.com/mattress.html[4/6/2018 10:47:52 AM]
Dormeo Octaspring Commercial - YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 18 of 62 PageID #: 259
                                                                Technology to breathe. Cover is resistant to dust-mites
                                                                and bacteria.

                                                                Mattress requires no fipping or turning

                                                                10 Year Limited Warranty


                                                                FIND STORE




                                                                                  ®
                                                                Dormeo C120G Firm
                                                                13.5 inch profle offering a high level of pressure-relieving
                                                                comfort with a Firm supportive feel.
                                                                Ultra-deep 2" Cool Infusion Deluxe Memory Foam
                                                                Comfort Layer
                                                                Octaspring® Technology: 3-zoned, plush memory foam
                                                                MemoryCoils™ provide pressure-relieving comfort and 3-
                                                                dimensional adaptability.
                                                                Ecocell™ Support Layer adds durable stability

                                                                Reinforced 15 / 16 gauge foam-encased coils in three
                                                                body zones. Superior 16 gauge, foam-encased, pocket
                                                                coil edge support.
                                                                Plush cover with touchable soft-silkiness. Our 360° wave
                                                                air-mesh sides allow our revolutionary Octaspring
                                                                Technology to breathe. Cover is resistant to dust-mites
                                                                and bacteria.
                                                                Mattress requires no fipping or turning

                                                                10 Year Limited Warranty


                                                                FIND STORE




                                                            ®
                          The DORMEO True Hybrid beds...
http://www.dormeo.com/mattress.html[4/6/2018 10:47:52 AM]
Dormeo Octaspring Commercial - YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 19 of 62 PageID #: 260
                                         The Destination for cooler comfort!



                                                            ®
                    THE OCTASPRING
                         DIFFERENCE
           Thanks to the remarkable
                        ®                                   ®
  Octaspring technology, DORMEO
     Mattress is 8X more breathable
         than memory foam, offers a
  demonstrably cooler sleep surface,
   contours to your body and creates
    an unsurpassed level of comfort,
   never before seen in the history of
                               sleep.




      Overheating, aches and pains, restlessness - All are
                                                                                              ®
      obsolete when you sleep on a DORMEO Mattress


                                                                BENEFITS
                                                                Experience pressure relieving comfort without the heat
                                                                of memory foam or the push-back of traditional springs.
                                                                Octasprings positioned into zones, offering more
                                                                support for your hips and thighs, softer for your head and
                                                                shoulders, keeping your spine in complete alignment.
                                                                Eliminates partner’s disturbance.


http://www.dormeo.com/mattress.html[4/6/2018 10:47:52 AM]
Dormeo Octaspring Commercial - YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 20 of 62 PageID #: 261




                                                                Breathable cover designed to resist dust-mites and
                                                                bacteria.
                                                                Mesh sides allow for maximum air fow.

                                                                No fipping or turning necessary.


                                                                LEARN MORE




                  BEDROOM TALK                                  Dormeo Octaspring Commercial

                                                            ®
         See why everyone loves DORMEO
                                 Mattress.
                                               Brilliant!!
       Since buying this mattress, I have no sleepless
 nights. No more visits to the chiropractor. I wish I had
               changed my mattress a long time ago.
                                                – J. Hall




    READ MORE                                                   VIEW MORE
    REVIEWS                                                     VIDEOS

                                                                                   ®                            ®
        THE CREATORS OF DORMEO Octaspring
http://www.dormeo.com/mattress.html[4/6/2018 10:47:52 AM]
Dormeo Octaspring Commercial - YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 21 of 62 PageID #: 262




    Designer Willy Poppe has dedicated his                               Sandi Češko is co-founder of Studio
      life to creating innovation in the feld of                         Moderna, the leading direct marketing
                                          ®
    sleep. With Octaspring , he had a simple                             company in CEE, and ranks amongst the
          mission: To create the world’s most                            most successful business entrepreneurs in
                 comfortable mattress without                            Slovenia.
                                                                                                   ®
         compromising quality, support, or the                           As creator of the DORMEO brand, he is
        environment. Simple to say, trickier to                          undoubtedly a proven business innovator.
                                       achieve.




 TECHNOLOGY                           WARRANTY INFO


 MATTRESS                             REGISTER PRODUCT


 PILLOWS                              PRIVACY POLICY


 REVIEWS                              ACCESSIBILITY


 FAQS                                 TERMS & CONDITIONS

                                                 Copyright © Dormeo 2018 - All Rights Reserved




http://www.dormeo.com/mattress.html[4/6/2018 10:47:52 AM]
               Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 22 of 62 PageID #: 263
       SUBSCRIBE                       CONTACT US            CALL US 800-896-2802




                                              HOME         MATTRESS     PILLOWS      TECHNOLOGY




                EVOLUTION DREAM LINE
                                    ®
     Octaspring technology isn’t just for mattresses. This
    revolutionary breakthrough in coolness and comfort is
                   perfect for pillows, too.


                               ®
 DORMEO Evolution Dream Memory Foam Pillow
     1. Octaspring Technology’s memory foam
        MemoryCoils™ in the center of the pillow cradle
        your head in blissful comfort
     2. Firmer Ecocell™ EcoSprings along the edges
        keep your spine in perfect alignment in any
        sleeping position
     3. Layering of plush memory foam with our
        DORMEO BreathNTech gives you contouring
        comfort, while keeping you cool
     4. Air-mesh panel around all four sides ensures
        cooling airfow


http://www.dormeo.com/pillows.html[4/6/2018 10:48:10 AM]
               Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 23 of 62 PageID #: 264




     5. Luxurious removable, washable cover




                               ®
 DORMEO Evolution Dream Pillow
     1. Octaspring Technology’s memory foam
        MemoryCoils™ in the center of the pillow cradle
        your head in blissful comfort
     2. Firmer Ecocell™ EcoSprings along the edges
        keep your spine in perfect alignment in any
        sleeping position
     3. Layering of plush memory foam with our
        DORMEO BreathNTech gives you contouring
        comfort, while keeping you cool
     4. Air-mesh panel around all four sides ensures
        cooling airfow
     5. Luxurious removable, washable cover




 FEATURES
 Complete with removable cover, they’re luxurious, breathable
 nighttime support.


    Each pillow features 30 soft Octasprings wrapped in a plush
    sleeve of memory foam. Octasprings contour to your head,
    creating a custom level of weightless support.
    Air-mesh sides allow for cooling airfow and breathability.

    No hot spots, no back-of-the-neck sweating.



http://www.dormeo.com/pillows.html[4/6/2018 10:48:10 AM]
                 Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 24 of 62 PageID #: 265




    Luxurious, removable cover for easy cleaning.




 PRODUCT SPECS
 DORMEO EVOLUTION
             ®



                                                     STANDARD   QUEEN            KING
 Memory Pillow


 LENGTH                                              21 IN      24 IN            30 IN

 WIDTH                                               16 IN      16 IN            16 IN

 HEIGHT                                              5 IN       5 IN             5 IN

 WEIGHT                                              3.5 LBS    4.5 LBS          5 LBS




            SUITABLE FOR ALL SLEEPING
                    POSITIONS
             Suitable for side, back and stomach sleepers




 TECHNOLOGY                            WARRANTY INFO



http://www.dormeo.com/pillows.html[4/6/2018 10:48:10 AM]
               Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 25 of 62 PageID #: 266


 MATTRESS                              REGISTER PRODUCT


 PILLOWS                               PRIVACY POLICY


 REVIEWS                               ACCESSIBILITY


 FAQS                                  TERMS & CONDITIONS

                                                   Copyright © Dormeo 2018 - All Rights Reserved




http://www.dormeo.com/pillows.html[4/6/2018 10:48:10 AM]
YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 26 of 62 PageID #: 267
       SUBSCRIBE                     CONTACT US                  CALL US 800-896-2802




                                            HOME          MATTRESS         PILLOWS




                                             TECHNOLOGY




                                                              ®
             Octaspring TECHNOLOGY
        So what’s an Octaspring, exactly? It’s a hybrid
      invention, the frst and only of its kind. Spring coil
        meets memory foam – dynamic fexibility plus
                     unsurpassed support.


                        THINK OF AN
                    OCTASPRING AS A
                     HONEYCOMB OF
                          COMFORT
      Each foam spring features eight
        reinforcements, a series of air
    vents and a hole in the center that

http://www.dormeo.com/technology.html[4/6/2018 10:49:44 AM]
YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 27 of 62 PageID #: 268




       allows humid air to pass through
                             and away.




                                                                 The fnal result is a
                                                                 luxurious, dynamic
                                                                 sleep surface, 8X
                                                                 more breathable than
                                                                 memory foam.




 But what, exactly, is an Octaspring?
 Call it a honeycomb of comfort.
 Simply put, DORMEO Mattress is the most advanced
                          ®




 mattress on the market. Thanks to revolutionary Octaspring
 sleep technology, tossing and turning is a thing of the past.



http://www.dormeo.com/technology.html[4/6/2018 10:49:44 AM]
YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 28 of 62 PageID #: 269
 A cross between a spring coil and memory foam,
 Octasprings are the power behind DORMEO Mattresses ®




 legendary comfort.Pressure-relieving and open to air fow,
 each Octaspring features eight reinforcements, a series of
 air vents and a hole in the center that lets humid air pass
 through. This design allows air to flter through and away
 from the mattress, dissipating heat and humidity. This
 creates a luxurious, dynamic sleep surface that’s noticeably
 cooler.


 In each DORMEO Mattress, hundreds of Octasprings are assembled into seven zones of comfort -- softer for your head, more
                      ®




 supportive for your hips and thighs. No pressure points, just equally distributed weight, adapting to each sleeper’s body weight
 with custom support. The fnal product is fexible, breathable and cool. 8X more breathable than a memory foam mattress, in
 fact. Octasprings are like nothing you’ve ever felt before -- game-changing sleep technology that will revolutionize the way you
 rest.




 TECHNOLOGY                          WARRANTY INFO


 MATTRESS                            REGISTER PRODUCT


 PILLOWS                             PRIVACY POLICY


 REVIEWS                             ACCESSIBILITY


 FAQS                                TERMS & CONDITIONS

                                                Copyright © Dormeo 2018 - All Rights Reserved




http://www.dormeo.com/technology.html[4/6/2018 10:49:44 AM]
First Time Trying a Dormeo Mattress - YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 29 of 62 PageID #: 270
       SUBSCRIBE                      CONTACT US              CALL US 800-896-2802




                                                HOME       MATTRESS       PILLOWS




                                                TECHNOLOGY


                                                                      ®
                              Octaspring Reviews
   You don’t have to take our word for Octaspring’s power. Check
      out reviews from our many fans and followers -- satisfed
                                                                                           ®
    sleepers with amazing stories about Octaspring life-changing
                               charms.




    Dormeo Mattress Experience                         First Timer - Dormeo Mattress   First Time Trying a Dormeo M




http://www.dormeo.com/reviews.html[4/6/2018 10:51:20 AM]
First Time Trying a Dormeo Mattress - YouTube
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 30 of 62 PageID #: 271




     Write A Review
     Your Name:*


     Your Email:*


     Your Title:*


     Your Review:*




                                                                                                SUBMIT




 TECHNOLOGY                           WARRANTY INFO


 MATTRESS                             REGISTER PRODUCT


 PILLOWS                              PRIVACY POLICY


 REVIEWS                              ACCESSIBILITY


 FAQS                                 TERMS & CONDITIONS

                                                Copyright © Dormeo 2018 - All Rights Reserved




http://www.dormeo.com/reviews.html[4/6/2018 10:51:20 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 31 of 62 PageID #: 272
       SUBSCRIBE                     CONTACT US            CALL US 800-896-2802




                                             HOME       MATTRESS     PILLOWS




                                             TECHNOLOGY




                                                         FAQs




http://www.dormeo.com/faqs.html[4/6/2018 10:51:31 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 32 of 62 PageID #: 273
       SUBSCRIBE                     CONTACT US                CALL US 800-896-2802




                                            HOME            MATTRESS     PILLOWS




                                             TECHNOLOGY


                                                            WARRANTY


                                               WARRANTY CLAIMS
 To submit a warranty claim, DORMEO requires the following documentation to be sent by email to
 customercare.na@dormeona.com:

        Copy of Original Receipt
        Images of Claim/Defect
        Detailed Description of Claim/Defec




      15 YEAR LIMITED MATTRESS WARRANTY (NEXT-G
                                                                LINE)
 Mattresses: 120G, 130GX, 220G, 230GX, 240GXZ, 330GX, 330GXZ, 340GXZ, 120L, 220L, 320L




      10 YEAR LIMITED MATTRESS WARRANTY (NEXT-G
                                                      CLASSIC LINE)
 Mattresses: C120 Firm, C120, C130GX, C140GXZ



http://www.dormeo.com/warranty.html[4/6/2018 10:51:46 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 33 of 62 PageID #: 274



    10 YEAR LIMITED MATTRESS WARRANTY (CLASSIC
                                                             LINE)
 Mattresses: DreamyBED, CelestialBED, HeavenlyBED




    25 YEAR LIMITED MATTRESS WARRANTY (DOLCÉ &
                                                  SÉRÉNITÉ LINES)
 Dolcé Mattresses: SimplicityBED, PurityBED, VitalityBED, AffnityBED, LongevityBED, TranquilityBED,
 HarmonyBED, FelicityBED

 Sérénité Mattresses: restBED, blissBED, luxeBED, zenBED

 We believe we've created the world's most comfortable mattress without compromising quality, support, or the
 environment.

 Our years of research have resulted in a new technology with only the best qualities of memory foam and metal
                                                                 '
 springs, and none of their drawbacks'a TRUE HYBRID BED! You will enjoy more comfort, fall asleep faster,
                                                                                              '
 spend more time in deep REM sleep and wake up feeling refreshed. That's the DORMEO difference'the next
 generation of mattress.

 DORMEO North America provides a twenty-fve (25) year express limited warranty for its DORMEO Octaspring '            '




 Mattresses (the 'Warranty Period') which commences ninety (90) days after the original date of delivery. In our
 sole discretion and option during the Warranty Period, we will repair or replace the original purchaser's
              '
 DORMEO Octaspring mattress if it is defective due to faulty workmanship or materials, subject to the limitations
 described in this warranty. An original proof of purchase receipt or online warranty registration is required for
 any and all warranty claims.




             25 YEAR WARRANTY PRORATED SCHEDULE:
                                                                                      No repair or replacement fees are
 Year 0-10                                                  100% guarantee
                                                                                                               incurred




http://www.dormeo.com/warranty.html[4/6/2018 10:51:46 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 34 of 62 PageID #: 275
 Year 11                                                    90% guarantee        Pay 10% of repair or replacement cost


 Year 12                                                    84% guarantee        Pay 16% of repair or replacement cost


 Year 13                                                    78% guarantee        Pay 22% of repair or replacement cost


 Year 14                                                    72% guarantee        Pay 28% of repair or replacement cost


 Year 15                                                    66% guarantee        Pay 34% of repair or replacement cost


 Year 16                                                    60% guarantee        Pay 40% of repair or replacement cost


 Year 17                                                    54% guarantee        Pay 46% of repair or replacement cost


 Year 18                                                    48% guarantee        Pay 52% of repair or replacement cost


 Year 19                                                    42% guarantee        Pay 58% of repair or replacement cost


 Year 20                                                    36% guarantee        Pay 64% of repair or replacement cost


 Year 21                                                    30% guarantee        Pay 70% of repair or replacement cost


 Year 22                                                    24% guarantee        Pay 76% of repair or replacement cost


 Year 23                                                    18% guarantee        Pay 82% of repair or replacement cost


 Year 24                                                    12% guarantee        Pay 88% of repair or replacement cost


 Year 25                                                    6% guarantee         Pay 94% of repair or replacement cost




 For the frst ten (10) years of the Warranty Period, at our option, we will replace or repair defective
 workmanship or materials at no cost, other than all one-way shipping (see Shipping and Handling section) to
 the original purchaser. However, during years 11 through 25 of the Warranty Period, any repair or replacement
 guarantee will be subject to a prorated cost schedule that will be applied either to the repair or replacement
 cost. One-way shipping and handling costs are the responsibility of the original purchaser FOR ALL
 WARRANTY CLAIMS.
                                                                                                             '
 THIS WARRANTY IS APPLICABLE ONLY TO THE ORIGINAL PURCHASER OF THE DORMEO
                                                                                                     '
 OCTASPRING MATTRESS FROM AUTHORIZED RETAILERS AND DIRECT FROM DORMEO NORTH
                                                                                                         '
 AMERICA. THE ORIGINAL PURCHASE RECEIPT OR A PROPERLY REGISTERED DORMEO
 OCTASPRING MATTRESS WARRANTY IS REQUIRED FOR ANY WARRANTY CLAIM. MATTRESSES
 PURCHASED FROM UNAUTHORIZED THIRD-PARTY RESELLERS, OR OTHER NON-AUTHORIZED


http://www.dormeo.com/warranty.html[4/6/2018 10:51:46 AM]
        Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 35 of 62 PageID #: 276
 SELLERS (INCLUDING, BUT NOT LIMITED TO, SALES VIA EBAY INC., AMAZON.COM, INC., ETC.), SHALL
 RENDER THE WARRANTY NULL AND VOID IN ITS ENTIRETY. THIS WARRANTY DOES NOT APPLY TO
                                                            '
 FLOOR MODELS OR 'DEMOS.' DORMEO NORTH AMERICA SHALL NOT BE LIABLE FOR INCIDENTAL
 OR CONSEQUENTIAL DAMAGES RESULTING FROM THE USE OF THIS PRODUCT OR ARISING OUT OF
 ANY BREACH OF THIS WARRANTY. THE FOREGOING WARRANTY IS EXCLUSIVE AND NO OTHER
 WARRANTIES, EXPRESS OR IMPLIED, INCLUDING IMPLIED WARRANTIES OF MERCHANTABILITY AND
 FITNESS FOR A PARTICULAR PURPOSE, ARE MADE HEREUNDER OTHER THAN THE WARRANTY
 DESCRIBED HEREIN.

 All warranty claims must be submitted in writing to DORMEO North America describing the nature of the
 alleged defect, and, in addition, must be accompanied by photographic evidence of the alleged defect, and
 proof of purchase or warranty registration. This information will be used for evaluation purposes by DORMEO
 North America, in its sole discretion. Failure to provide the foregoing materials may result in rendering the
 Warranty null and void in DORMEO North America's sole discretion.

 DORMEO Octaspring mattresses are designed to work on a frm, solid-surface, non-spring foundation or
              '              '




                                                                                                     '
 adjustable bed base that is structurally capable of supporting the weight of purchaser's DORMEO Octaspring
 mattress and user(s). This limited warranty and other performance warranties are based on tests conducted on
 'sets' that consist of our mattresses and our foundations/adjustable bed bases. THEREFORE, IF PURCHASER
 USES INAPPROPRIATE FOUNDATIONS, BOX SPRINGS, ADJUSTABLE BED BASES, OR BED FRAMES
 WITH THIS MATTRESS, SUCH USE WILL VOID THIS LIMITED WARRANTY AND ALL OTHER
 WARRANTIES, WHETHER EXPRESSED OR IMPLIED, INCLUDING, WITHOUT LIMITATION, THE IMPLIED
                                                                                                          '
 WARRANTIES OF MERCHANTABILITY AND FITNESS FOR A PARTICULAR PURPOSE. DORMEO
 Octaspring may require purchaser to provide proof of the quality of the foundation, adjustable bed base, or bed
                                                                                                                     '
 frame used in conjunction with the mattress if purchaser makes a claim under this limited warranty. DORMEO
                                                                                                                 '
 Octaspring reserves the right to invalidate this limited warranty if the foundation is determined, in DORMEO
 Octaspring's reasonable discretion, to be inadequate.




    20 YEAR LIMITED MATTRESS WARRANTY (DORMEO
                                                OCTASPRING LINE)
 Mattresses: 5500, 6500, 8000, 8500, 9500




http://www.dormeo.com/warranty.html[4/6/2018 10:51:46 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 36 of 62 PageID #: 277

            MATTRESS WARRANTY DOES NOT APPLY TO:
        Normal product wear and tear as determined in our sole discretion
                                                                  '         '
        A normal increase in the softness of the DORMEO Octaspring core material
        The occurrence of mold
        Use of an improper or unsupportive foundation
        Additional shipping/transportation costs other than stated herein
        Staining or issues relating to the mattress being used or stored in an unsuitable or unsanitary condition, or
        issues arising from the failure to use a washable mattress protector.




    MATTRESS WARRANTY IS DEEMED NULL AND VOID
                                                            WHEN:
        The product has been subject to misuse, careless treatment, or physical abuse, as determined in our sole
        discretion.
        The mattress has not been properly packaged resulting in damage during return shipping to us.
        The original purchaser cannot provide an original proof of purchase receipt, or has not properly registered
        the warranty online.

 PLEASE RETAIN A COPY OF YOUR WARRANTY AND ORIGINAL SALES RECEIPT FOR FUTURE
 REFERENCE.




                                     ADDITIONAL INFORMATION
 If the original mattress model is not available at the time of repair or replacement, DORMEO North America
 reserves the right to offer an alternative model of equal quality or value, in its sole discretion.
                                                              '         '
 If an individual's body impression found in a DORMEO Octaspring mattress is 3/4 of an inch or more in depth
 and IS NOT associated with use of an improper or unsupportive foundation (or other misuse), it may be
 covered by the warranty. However, mattress dimensions (length and width) have a '2% tolerance due to elastic
 components. This tolerance is considered normal and does not constitute a defective mattress and is not
 subject to a warranty claim, whether after short- or long-term use of the mattress.

 In the event of an authorized product repair or replacement, the Warranty Period will not be renewed or


http://www.dormeo.com/warranty.html[4/6/2018 10:51:46 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 37 of 62 PageID #: 278
 extended following the repair or replacement. In short, a repaired or replaced mattress does not reset or in any
 way alter the Warranty Period duration in connection to subsequent warranty claims, if any.




                    MATTRESS COVER LIMITED WARRANTY
 The mattress cover provided with the mattress is warrantied for one (1) year from the original date of purchase
 to be free of defects in the material or workmanship. DORMEO North America will replace or repair a cover at
 its option within the one year period at no cost to the original purchaser, excluding return shipping costs.




                                     5 YEAR PILLOW WARRANTY
              '
 DORMEO provides a 5 year warranty for all pillows and guarantees the quality of materials and workmanship
 within the warranty period. The removable knit pillowcase is provided with a 1 year warranty for quality and
                                 '
 workmanship. DORMEO will replace or repair the pillow or pillowcase due to faulty workmanship or material
                                                                                                            '
 defects at no charge during the warranty period, subject to the limitations for this warranty. DORMEO will cover
 all related costs for repair or replacement of the product to the original purchaser. All transportation costs will be
 the responsibility of the purchaser. This warranty is valid from the date of the product purchase and valid for 5
 years. Warranty can be claimed by the original proof of purchase or our on-line warranty registration. In the
 event of a warranty claim, repair or replacement the warranty will not be renewed or extended, but will continue
 from original purchase date. This warranty does not cover: Normal product wear and tear as determined in our
 sole discretion; the occurrence of mold; Shipping/transportation costs; Staining or issues relating to the pillow
 being used or stored in an unsuitable or unsanitary condition; or issues arising from the failure to follow use and
 care tags on the product.




                               SHIPPING AND HANDLING FEES
 The original purchaser is responsible for all shipping and handling fees for all DORMEO North America
 products for any and all warranty claims.



 THE REPAIR OR REPLACEMENT AS PROVIDED UNDER THIS EXPRESS LIMITED WARRANTY IS THE


http://www.dormeo.com/warranty.html[4/6/2018 10:51:46 AM]
        Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 38 of 62 PageID #: 279
 EXCLUSIVE REMEDY OF THE CONSUMER AND IS PROVIDED IN LIEU OF ALL OTHER WARRANTIES,
                                                                         '
 EXPRESS OR IMPLIED. IN NO EVENT SHALL DORMEO OCTASPRING BE LIABLE, WHETHER IN
 CONTRACT OR TORT (INCLUDING NEGLIGENCE), FOR DAMAGES IN EXCESS OF THE PURCHASE
 PRICE OF THE PRODUCT, OR FOR ANY DIRECT, INCIDENTAL, SPECIAL OR CONSEQUENTIAL
 DAMAGES OF ANY KIND OR LOSS TO THE FULL EXTENT THAT THESE DAMAGES MAY BE
 DISCLAIMED BY LAW.

 Some states do not allow the limitation or exclusion of incidental or consequential damages, or limitation on the
 length of an implied warranty, and so the above limitations or exclusions may not apply to you. This limited
 warranty gives you specifc legal rights that vary from state to state, and you may have other rights which may
 vary from state to state.




                                    FOUNDATION AND PILLOWS
              '
 DORMEO Foundation and Pillows do not offer a trial and are not returnable.




 TECHNOLOGY                          WARRANTY INFO


 MATTRESS                            REGISTER PRODUCT


 PILLOWS                             PRIVACY POLICY


 REVIEWS                             ACCESSIBILITY


 FAQS                                TERMS & CONDITIONS

                                                Copyright © Dormeo 2018 - All Rights Reserved




http://www.dormeo.com/warranty.html[4/6/2018 10:51:46 AM]
                Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 39 of 62 PageID #: 280
        SUBSCRIBE                     CONTACT US               CALL US 800-896-2802




                                             HOME           MATTRESS     PILLOWS




                                              TECHNOLOGY


                                         ®
       Dormeo Warranty Registration
                                                                ®
   Register your new Dormeo mattress and receive full warranty
  coverage.Please fll out the form below to receive full benefts of
                                                                        ®
                      your Dormeo mattress.




                       WARRANTY REGISTRATION
                   A star (*) indicates that we require this information to fulfll your request.
    Title




    First Name *




    Last Name *




    Address *




http://www.dormeo.com/register.html[4/6/2018 10:52:00 AM]
                Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 40 of 62 PageID #: 281
    City *




    State / Province / Region *




    ZIP / Postal Code *




    Country *

     United
     United States
            States

    Email *




    Product Name *

     Select
     Select product
            product

    Date of Purchase *




    Store Name *




    Price *




        I have read and agree to the privacy
        policy.*




                                                                           Submit
                                                                           Submit Registration
                                                                                  Registration Form




 TECHNOLOGY                                    WARRANTY INFO


 MATTRESS                                      REGISTER PRODUCT


 PILLOWS                                       PRIVACY POLICY


 REVIEWS                                       ACCESSIBILITY



http://www.dormeo.com/register.html[4/6/2018 10:52:00 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 41 of 62 PageID #: 282

 FAQS                                 TERMS & CONDITIONS

                                                 Copyright © Dormeo 2018 - All Rights Reserved




http://www.dormeo.com/register.html[4/6/2018 10:52:00 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 42 of 62 PageID #: 283
       SUBSCRIBE                      CONTACT US                 CALL US 800-896-2802




                                             HOME          MATTRESS        PILLOWS




                                             TECHNOLOGY


                                                   PRIVACY POLICY
 This policy is effective of February 28, 2013.

 Dormeo North America is committed to protecting your privacy. The policy below outlines the information we (i)
 may collect about you; (ii) how it may be used; (iii) how it is protected; how we may communicate with you; and
 (v) how you may opt out or otherwise control the information provided to us.




                                              POLICY AGREEMENT
 When you visit our website, by requesting a brochure or other product information, or by purchasing our
 products directly from us either on this website or by phone, you are agreeing to these policies




                          INFORMATION THAT IS COLLECTED
 We may collect either personal information or non-personal information from this website and when you call us.




         PERSONAL AND NON-PERSONAL INFORMATION
 Personally identifable information may include your name, billing address, shipping address, email address,
 credit card information, phone number and product purchase information. We share your name, addresses,
 email address, phone number and purchase information with our affliates, including, but not limited to, our
 order processing center, mail centers, and shippers, in order to process and send the items you have ordered,

http://www.dormeo.com/privacy-policy.html[4/6/2018 10:52:12 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 43 of 62 PageID #: 284
 brochures you may have requested, and, to send emails and other mailings to you. If you do not want to
 receive mail or emails from us, see Control Your Information below. We also share your credit card information
 with our order and credit card processing centers.

 Non-personal information is information that is not identifable and may include information that is collected
 when you visit our website and the types of purchases you make. This non-personal information does not
 contain personally identifable information about you, and it may be shared with our website administrator
 and/or other external technical, marketing, and advertising vendors.




                                          VISITING OUR WEBSITE
 When you visit our website, we collect information including what pages you visit, your IP address, web
 browser (Internet Explorer, Safari, Chrome, etc.) and type of computer you are using (PC, Mac, tablet, etc.) by
 using Internet technology that is commonly available such as cookies and action tags. This helps us to keep
 our website up-to-date and provide information that is most relevant to our customers. By using cookies, we
 create an easier website experience. For example, cookies are used to remember products in your shopping
 cart when you re-visit our site at a later time. We may also use cookies through our technical, marketing, and
 advertising partners to track your interests and provide ads that we believe you may fnd useful based on your
 visits and interests. You may accept or decline cookies by modifying your browser settings. However, by
 declining, some website features and functionality may not be accessible to you which may affect your ability to
 effciently use our website. We use action tags to measure marketing and advertising campaigns, to track
 pages that are visited, and to determine if the visit resulted in a purchase. Our technical, marketing, and
 advertising partners may utilize this information to serve banner ads to your browser that you may fnd useful.




                              ORDERING FROM OUR WEBSITE
 When you order a product by placing an order on this website or calling us, we collect personal information as
 stated above. We collect this information so we can process your order, receive payment and ship your order.
 The personal information you provide may be combined with other information about you from third-party
 vendors and affliates to assist in the marketing of our products.




http://www.dormeo.com/privacy-policy.html[4/6/2018 10:52:12 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 44 of 62 PageID #: 285

   REQUESTING BROCHURES AND OTHER MATERIALS
 When you request a brochure or sign up for promotional mail and emails, we may collect personal information,
 which may include your name, mailing address, email address and phone number so we can contact you with
 product information and special promotions.




                              REGISTERING YOUR WARRANTY
 When you register your product warranty with us, we will collect personal information, as well as information
 about the item you purchased. This may also include lifestyle and survey-type information to help us
 understand our customers better.




                                          SHARING INFORMATION
 When you post, share, or otherwise contribute testimonials, communications, or other content on this website,
 or share information in our social media spaces such as our Facebook, Twitter, Pinterest, YouTube and blog,
 we may collect some personal information, including your name and email address. This helps ensure we are
 providing reliable and truthful feedback. However, the respective social media spaces utilize their own privacy
 policies for collecting and using personal and non-personal information. These privacy policies should be
 reviewed separately and we encourage you to do so.

 Sharing information allows you to provide opinions and suggestions about our products with friends and social
 media communities. Personal or non-personal information shared in a social media network may be used by
 the social network company or host that may result in the information being made public.

 Any links that lead to external websites or unaffliated social media spaces should not be construed to mean
 that we have endorsed the external websites or social media outlets. Furthermore, these external websites and
 social media spaces do not operate under our privacy policies. Their respective privacy policies for collecting
 and using personal and non-personal information should be reviewed separately and we encourage you to do
 so.




                                              REVIEWS & FORUMS
http://www.dormeo.com/privacy-policy.html[4/6/2018 10:52:12 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 45 of 62 PageID #: 286

 When you post, share, or otherwise contribute reviews, testimonials, communications, or other content on this
 website, or share information in our social media spaces such as our Facebook, Twitter, Pinterest, YouTube
 and blog, we may collect some personal information, such as your name and email address. This helps ensure
 we are providing reliable and truthful feedback. Your reviews may be posted using your name (if you choose to
 provide it), on the website. Please remember that any information that you provide in these comments areas is
 accessible to anyone viewing the website, and you should exercise caution when deciding to disclose any
 personal information.

 We may also collect any comments, suggestions and other feedback you provide as postings in these forums.
 We may use your comments, suggestions or feedback to monitor and/or improve our product and service
 offerings and our website. Please note that the respective social media spaces utilize their own privacy policies
 outlining the way in which they collect, use disclose and otherwise manage personal information. These privacy
 policies outlining the way in which they collect, use, disclose and otherwise manage personal information.
 These privacy policies should be reviewed separately and we encourage you to do so.

 Sharing information allows you to provide opinions and suggestions about our products with friends and social
 media communities. Personal or non-personal information shared in a social media network may be used by
 the social network company or host that may result in the information being made public.




                             RELEASING YOUR INFORMATION
 We may provide personal information when complying with applicable laws and regulations, or requested by a
 governmental or legal entity. We may also release personal information to enforce or apply our Terms of Use
 and other agreements, or protect the rights, safety, or property of Dormeo North America, our customers,
 employees or others.




                                CONTROL YOUR INFORMATION
 After you provide personal information to us, you can add to, change or remove what we have on fle for you.
 Please contact us by phone, email or mail:

 Phone: 1-855-4DORMEO (Select 1 for Customer Service)

 Email: customer.info@dormeona.com



http://www.dormeo.com/privacy-policy.html[4/6/2018 10:52:12 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 46 of 62 PageID #: 287
 Mail:
 Dormeo Octaspring
 1901 10th St.
 Suite 500
 Plano, TX 75074




                                                SERVICE VENDORS
 We may engage authorized, external vendors to provide services to us such as operating our website, order-
 taking, customer service, processing payments, shipping, sending emails, surveys, marketing and advertising.
 These companies have access to personally identifable information specifcally needed to implement their
 services, but they may not use it for other purposes.

 In the event we use technologies referenced in “Visiting our website” above for advertising purposes, we do not
 provide personal information to external vendors. However, by visiting our website, and viewing or clicking on
 ads, these external vendors may collect information and use it when servicing or otherwise providing
 advertisements. Third party cookies and action tags are subject to the privacy policy of the respective company
 utilizing them. For information about opting out of third-party cookies, visit: www.networkadvertising.org




                                             BUSINESS TRANSFER
 In the event we sell, transfer, merge or assign our business, or buy other businesses or subsidiaries, personal
 and non-personal information, may be transferred as a business asset.




                                  PROTECTING YOUR PRIVACY
 We are committed to protecting your privacy. We have implemented appropriate security measures to protect
 the personal information you provide us against unauthorized access or disclosure. When we transmit personal
 information, data is encrypted. In the unlikely event your personal information is accessed or disclosed in an
 unauthorized manner, we will comply with notifcation requirements under applicable law.

 We do not knowingly sell our products or advertise directly to children under the age of 13. We also do not



http://www.dormeo.com/privacy-policy.html[4/6/2018 10:52:12 AM]
          Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 47 of 62 PageID #: 288
 knowingly collect information from minors who are under 18 years of age.




                                             CHILDREN’S PRIVACY
 We do not knowingly sell our products or advertise directly to children under the age of 13. We also do not
 knowingly collect information from minors who are under 18 years of age.




                                      CHANGES TO THIS POLICY
 This privacy policy may be changed or updated. If so, the date it is changed on will be posted at the top of this
 page.




                                            HOW TO CONTACT US
 If you have questions about our privacy policy, please contact us by phone, email or mail:
 Phone: 1-855-4DORMEO (Select 2 for Customer Service)
 Email: customer.info@dormeona.com

 Mail:
 Dormeo Octaspring
 1901 10th St.
 Suite 500
 Plano, TX 75074




 TECHNOLOGY                           WARRANTY INFO


 MATTRESS                             REGISTER PRODUCT


 PILLOWS                              PRIVACY POLICY


 REVIEWS                              ACCESSIBILITY



http://www.dormeo.com/privacy-policy.html[4/6/2018 10:52:12 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 48 of 62 PageID #: 289

 FAQS                                 TERMS & CONDITIONS

                                                 Copyright © Dormeo 2018 - All Rights Reserved




http://www.dormeo.com/privacy-policy.html[4/6/2018 10:52:12 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 49 of 62 PageID #: 290
        SUBSCRIBE                     CONTACT US                CALL US 800-896-2802




                                              HOME          MATTRESS        PILLOWS




                                              TECHNOLOGY


                                                      ACCESSIBILITY
 We have tried to ensure that this website is as accessible as possible. If you are having a problem please
 contact Dormeo Octaspring and we will do our best to help.

 Please contact us at the following address:

 Dormeo Octaspring
 1901 10th St.
 Suite 500
 Plano, TX 75074




 TECHNOLOGY                           WARRANTY INFO


 MATTRESS                             REGISTER PRODUCT


 PILLOWS                              PRIVACY POLICY


 REVIEWS                              ACCESSIBILITY


 FAQS                                 TERMS & CONDITIONS

                                                  Copyright © Dormeo 2018 - All Rights Reserved




http://www.dormeo.com/accessibility.html[4/6/2018 10:52:22 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 50 of 62 PageID #: 291
       SUBSCRIBE                      CONTACT US                  CALL US 800-896-2802




                                             HOME          MATTRESS         PILLOWS




                                             TECHNOLOGY


                                            TERMS & CONDITIONS
 This website (“Site”) is the property of Dormeo North America (“Company”). Please read these terms and
 conditions (“Terms”) before using this Site. Individuals must be 18 years of age or older to use this Site and you
 warrant that you are 18 years of age or older. By accessing and using this Site, you unconditionally agree to be
 bound by these Terms and all policies therein. If you do not agree to these Terms, do not access or use the
 Site. All users agree to be bound by any and all revisions and should periodically revisit this page to review the
 then current Terms.




                                       COPYRIGHT AND LICENSE
 The content within this Site, including, without limitation, the design, source code, software, text, graphics,
 images, photographs, video and audio fles, other fles, trademarks, service marks, trade names, and other data
 (collectively, the “Content”), and the selection, arrangement, structure, coordination, and “look and feel” thereof,
 are the property of Company, ALL RIGHTS RESERVED Copyright © 2012-2013 and/or its licensors. . You are
 granted a limited, non-sublicensable right to access this Site, and print the Content information published on
 this Site for your personal, non-commercial, and informational use in accordance with the Terms herein. The
 foregoing license grant does NOT include the right for you to:

        publicly perform, display, or publish any content on broadcast, digital media, or commercial print
        publications media, or make other derivative uses of the Site or the Content;
        sell, market, distribute, or make commercial use of the Site or any Content;
        use frame or framing techniques to enclose any portion of this Site (including the images, graphics, or
        video found at this Site, any text, or the layout/design of any page or form contained on a page); or
        collect and/or use any Content including the use of any robots, data spiders, or similar data gathering,


http://www.dormeo.com/terms-and-conditions.html[4/6/2018 10:52:34 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 51 of 62 PageID #: 292
          mining or extraction methods;

 Except for the limited license granted to you, you are not conveyed any other right or license by implication,
 estoppel, or otherwise in or under any patent, trademark, copyright, or proprietary right of Company or any third
 party.




                         TRADEMARKS AND SERVICE MARKS
 All Company product names, slogans, and our logos on this Site are either trademarks, service marks, or
 registered trademarks of Company or its suppliers and licensors and are the property of Company.
 Unauthorized use, whether or not such use is tied to any commercial endeavors, is strictly prohibited. You may
 not use any meta tags or any other “hidden text” utilizing Company or any other name, trademark, or product
 name of Company without our permission. In addition, all page headers, custom graphics, button icons, and
 scripts are service marks, trademarks, and/or trade dress of Company, and may not be copied, imitated, or
 used, in whole or in part, without our prior written permission. All other trademarks, registered trademarks,
 product names and Company’s names or logos mentioned herein are the property of their respective owners.
 Reference to any products, services, processes, or other information, by trade name, trademark, manufacturer,
 supplier, or otherwise does not constitute or imply endorsement, sponsorship or recommendation thereof by us.




                                                               PRIVACY
 By using cookies, this Site automatically recognizes the user’s Internet service provider and does collect
 information on which pages are visited. However, the user cannot be recognized as an individual. Company
 collects personally identifable information volunteered for promotions, e-commerce, or interactive elements.
 Company may also share its email, mailing, or telephone lists with other reputable organizations. Aside from
 authorized third parties, Company never shares specifc details about a user’s household and will never release
 credit card, fnancial or survey information to unauthorized third parties. For more information regarding
 Company’s privacy policy, please visit our Privacy Page.




   USE OF MATERIAL SUBMITTED TO COMPANY (USER
                                GENERATED CONTENT, “UGC”)
http://www.dormeo.com/terms-and-conditions.html[4/6/2018 10:52:34 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 52 of 62 PageID #: 293

 You will retain your ownership interest in all communications or fles provided by you to Company, or this Site,
 via message boards, forums, uploads, postings, and/or by electronic mail, telephone, text messaging, mail, or
 otherwise, including any text, pictures, videos, audio clips, comments, questions, suggestions, thoughts, or the
 like (collectively, the “Material”), and in any ideas, concepts, knowledge, or techniques (“Information”) contained
 in the Material. You hereby grant Company and its agents, affliates, successors and assigns, a universal, non-
 exclusive, irrevocable, fully-paid and royalty-free, sublicensable and transferable license in perpetuity to use
 and/or edit all submitted Material in any manner and for any purposes on the Site. All such Material and
 Information is, and will be treated as, non-confdential and non-proprietary. Company retains the right to edit all
 submitted Material in any manner and for any purpose, but is under no obligation to do so. Company may not
 be able to review all Material submitted and nothing herein requires Company to use, review or distribute
 Material provided by a user. You represent and warrant that prior to submission, you own the Material and
 Information submitted by you, or that you otherwise have the right to grant use thereof as set forth in this
 section, and that the posting of said Material and/or Information on the Site does not violate the privacy rights,
 publicity rights, copyright, contract rights or any other rights of any person or entity. Company reserves the right
 to use the Material and Information for any purpose, including, but not limited to, posting, reproduction,
 disclosure, distribution, transmission, publication, and broadcast. Nothing herein requires Company to use,
 review or distribute the aforementioned Material and Information provided by a user. Company reserves the
 right to use any ideas, concepts, knowledge, or techniques contained in the Material or Information that users
 provide, for any purpose, including, but not limited to, developing, manufacturing and marketing products or
 services using such information, and the user understands there shall be no consideration, royalties or other
 compensation from Company, its agents, affliates or assigns for use of said Material or Information. Further, by
 providing Material and/or Information to the Site, each user and his/her respective heirs, hereby indemnify,
 discharge, release, and hold Company, together with its parents, agents, affliates, successors and assigns and
 their respective directors, members, shareholders, offcers, employees, agents and representatives
 (collectively, the “Released Parties”), harmless from any action and/or liability, in any form or manner, arising
 from any infringement of any third party’s rights, inclusive of attorneys’ fees and costs in connection to the
 Material and/or Information. The user will not post commercial advertisements, “spam,” or other solicitations in
 any manner relating to other websites, products, or services.




 FOR EMBEDDED OR OTHER MATERIAL HOSTED ON A
     THIRD PARTY SERVER (E.G., A YOUTUBE® VIDEO),

http://www.dormeo.com/terms-and-conditions.html[4/6/2018 10:52:34 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 53 of 62 PageID #: 294

  SAID CONTENT SHALL BE IN COMPLIANCE WITH THE
              EXTERNAL SITE’S TERMS AND CONDITIONS.
 Company reserves the right to remove any Material or Information it deems to be offensive, defamatory,
 indecent, disparaging, obscene, pornographic, abusive, harassing, illegal, or an invasion of privacy, or which in
 any manner violates these Terms and Conditions. Company reserves the right to remove a Member’s
 registered account and terminate access to the Members-only sections of the Site at any time for violating
 these Terms and Conditions. Please report abuse to the Company webmaster at
 customer.info@dormeona.com Subject: Report Abuse.




                            UNAUTHORIZED USE PROHIBITED
 The user will not post Material or Information resulting from unauthorized use, or impersonation, of another
 registered user’s identity, name, screen-name, or persona; however, Company is not responsible for screening
 for any such conduct. Company is not liable for any losses of any kind, including without limitation,
 consequential or special damages, caused by any unauthorized use of a user’s identity, name, screen-name,
 persona, or account, and you may be liable for the losses of Company or others due to such unauthorized use.




            COMMERCIAL ADVERTISEMENTS AND OTHER
                                           PROHIBITED MATERIAL
 The user will not: post commercial advertisements; create/send commercial greeting cards (e-cards);
 create/send “spam” bulk messages, or other solicitations, in any manner relating to other websites, products, or
 services. In addition, Company reserves the right to remove without notice any Material or Information it deems
 to be offensive, defamatory, indecent, disparaging, obscene, pornographic, abusive, harassing, illegal, or
 constitutes an invasion of privacy, or which in any manner violates these Terms. Company reserves the right to
 remove a user’s registered account at any time for violating these Terms.




                                               THIRD PARTY LINKS

http://www.dormeo.com/terms-and-conditions.html[4/6/2018 10:52:34 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 54 of 62 PageID #: 295
 Company may provide links to websites and other content of third parties as a service to those interested in this
 information. However, we make no claim or representation regarding, and accept no responsibility for, the
 quality, content, nature or reliability of websites accessible by hyperlink from this Site. The linked websites are
 not under our control and we are not responsible for their content. We are providing these links to you only as a
 convenience to you, and the inclusion of any link does not imply affliation, endorsement, or adoption by us of
 the site or any information contained therein. When leaving this Site, you should be aware that our terms and
 policies no longer govern, and, therefore, you should review the applicable terms and policies, including privacy
 and data gathering practices, of that website.




                                                   NO WARRANTIES
 THE LAWS OF CERTAIN JURISDICTIONS, INCLUDING QUEBEC, DO NOT ALLOW THE EXCLUSION OR
 LIMITATION OF LEGAL WARRANTIES AND THE EXCLUSION OR LIMITATION OF REPRESENTATIONS
 MADE CONCERNING GOODS OR SERVICES. IF THESE LAWS APPLY TO YOU, SOME OR ALL OF THE
 BELOW EXCLUSIONS OR LIMITATIONS MAY NOT APPLY TO YOU AND YOU MAY HAVE ADDITIONAL
 RIGHTS.

 THIS SITE, AND THE CONTENT AND MATERIAL CONTAINED THEREIN, ARE PROVIDED ON AN “AS IS”
 BASIS WITHOUT WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED. YOU EXPRESSLY
 AGREE THAT USE OF THIS SITE, INCLUDING ALL CONTENT OR DATA DISTRIBUTED BY,
 DOWNLOADED OR ACCESSED FROM OR THROUGH THIS SITE, IS AT YOUR SOLE RISK. EXCEPT AS
 EXPRESSLY PROVIDED IN THE SITE, WE DISCLAIM ALL WARRANTIES INCLUDING, BUT NOT LIMITED
 TO, IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, TITLE,
 AND NON-INFRINGEMENT RELATED TO THE INFORMATION, MATERIALS, CONTENT ON OR GOODS
 PURCHASED THROUGH THE SITE. WE DO NOT REPRESENT OR WARRANT THAT MATERIALS IN THIS
 SITE ARE ACCURATE, COMPLETE, RELIABLE, CURRENT, OR ERROR-FREE OR UNINTERRUPTED. WE
 DO NOT PROMISE THAT ANY DEFECTS WILL BE CORRECTED, OR THAT YOUR USE OF THE SITE WILL
 PROVIDE SPECIFIC RESULTS. SOME STATES DO NOT ALLOW LIMITATIONS OR EXCLUSIONS ON
 WARRANTIES, SO THE LIMITATIONS ABOVE MAY NOT APPLY TO CERTAIN USERS. IN ANY SUCH
 JURISDICTION, THE ABOVE EXCLUSIONS AND LIMITATIONS SHALL INSTEAD BE IMPUTED AS
 REWRITTEN SO AS TO APPROXIMATE THE ABOVE EXCLUSIONS AND LIMITATIONS TO THE FULLEST
 EXTENT PERMISSIBLE BY THE LAWS OF SUCH JURISDICTION.

 WE ARE NOT RESPONSIBLE FOR TYPOGRAPHICAL ERRORS OR OMISSIONS RELATING TO THE
 CONTENT OR MATERIAL. WHILE WE ATTEMPT TO ENSURE YOUR ACCESS AND USE OF THE SITE IS

http://www.dormeo.com/terms-and-conditions.html[4/6/2018 10:52:34 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 55 of 62 PageID #: 296
 SAFE, WE CANNOT AND DO NOT REPRESENT OR WARRANT THAT THIS SITE OR ITS SERVER(S) ARE
 FREE OF VIRUSES OR OTHER HARMFUL COMPONENTS. ALL USERS ACCESSING THIS SITE FROM
 OUTSIDE THE UNITED STATES OF AMERICA ASSUME FULL RESPONSIBILITY FOR COMPLIANCE WITH
 LOCAL LAWS, IF APPLICABLE.




                                         LIMITATION OF LIABILITY
 IN NO EVENT SHALL COMPANY, OR ITS DIRECTORS, MEMBERS, SHAREHOLDERS, OFFICERS,
 EMPLOYEES, AFFILIATES, SUPPLIERS, SUCCESSORS, AND/OR ASSIGNS (COLLECTIVELY THE
 “COMPANY PARTIES”), BE LIABLE TO YOU OR TO ANY THIRD PARTY FOR ANY UNAUTHORIZED
 CREDIT CARD CHARGES OR ELECTRONIC PAYMENTS PROVIDED TO COMPANY IN CONNECTION TO
 THE SITE’S E-COMMERCE ACTIVITIES, OR ANY INDIRECT, CONSEQUENTIAL, EXEMPLARY,
 INCIDENTAL, SPECIAL OR PUNITIVE DAMAGES, OR LOST PROFITS, ARISING FROM YOUR USE OF
 THE WEBSITE, EVEN IF THE COMPANY PARTIES HAVE BEEN EXPRESSLY ADVISED OF THE
 POSSIBILITY OF SUCH DAMAGES. NOTWITHSTANDING ANYTHING TO THE CONTRARY CONTAINED
 ELSEWHERE IN THESE TERMS AND CONDITIONS, THE COMPANY PARTIES’ LIABILITY TO YOU FOR
 ANY CAUSE WHATSOEVER AND REGARDLESS OF THE FORM OF THE ACTION WILL AT ALL TIMES BE
 LIMITED TO THE AMOUNT PAID, IF ANY, BY YOU TO COMPANY FOR ACCESS TO AND USE OF THE
 SITE.




                                                  INDEMNIFICATION
 In using this Site, users expressly waive any and all claims that they may have against Company. You agree to
 indemnify, defend, and hold harmless Company and its affliates, successors and assigns, together with all of
 their offcers, directors, shareholders, members, employees, agents, licensors and suppliers, from and against
 all losses, expenses, damages and costs, including, without limitation, reasonable attorneys’ fees, resulting
 from any violation of these Terms or any activity related to your account (including negligent or wrongful
 conduct) by you or any other person accessing the Site using your account. You agree to be solely responsible
 for payment of all sums owing to any person or entity by virtue of the exposition of the Materials and
 Information on the Site.




http://www.dormeo.com/terms-and-conditions.html[4/6/2018 10:52:34 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 56 of 62 PageID #: 297

                                            ARBITRATION CLAUSE
 YOU UNDERSTAND AND AGREE THAT ALL CLAIMS, DISPUTES OR CONTROVERSIES BETWEEN YOU
 AND COMPANY, AND ITS PARENTS, AFFILIATES, SUBSIDIARIES, OR RELATED COMPANIES, SHALL BE
 RESOLVED BY FINAL AND BINDING ARBITRATION IN THE STATE OF CALIFORNIA. THE PARTIES
 VOLUNTARILY AND KNOWINGLY WAIVE ANY RIGHT THEY HAVE TO A JURY TRIAL. THIS
 ARBITRATION CONTRACT IS MADE PURSUANT TO A TRANSACTION IN INTERSTATE COMMERCE AND
 ITS INTERPRETATION, APPLICATION, ENFORCEMENT AND PROCEEDINGS HEREUNDER SHALL BE
 GOVERNED BY THE FEDERAL ARBITRATION ACT (“FAA”). THE ARBITRATOR SHALL BE BOUND TO
 APPLY AND ENFORCE THE TERMS OF THIS AGREEMENT AND THE ARBITRATOR’S DECISION WILL BE
 FINAL, BINDING, AND ENFORCEABLE IN A COURT OF COMPETENT JURISDICTION. NEITHER YOU
 NOR COMPANY SHALL BE ENTITLED TO JOIN OR CONSOLIDATE CLAIMS IN ARBITRATION BY OR
 AGAINST OTHER CONSUMERS OR ARBITRATE ANY CLAIM AS A REPRESENTATIVE OR MEMBER OF A
 CLASS.




                                                   MISCELLANEOUS
 If any of the provisions of these Terms are held by a court or other tribunal of competent jurisdiction to be void
 or unenforceable, such provisions shall be limited to the minimum extent necessary and replaced with a valid
 provision that best embodies these Terms.




                      DIGITAL MILLENNIUM COPYRIGHT ACT
 Company provides the Site as an interactive service provider and is not liable for any and all claims resulting
 from the use of Material or Information. Pursuant to the Digital Millennium Copyright Act, if a user feels
 unauthorized Material or Information has been posted on this Site, please notify us by mail at Octaspring
 Customer Service, Dormeo Octaspring, 1901 10th St, Suite 500, Plano, TX 75074 or
 customer.info@dormeona.com with the subject line stating “Copyright.” The DMCA notice MUST include the
 following: (i) describe the alleged infringement in detail; (ii) the copyright owner or who retains authorized use;
 (iii) the URL(s) where the alleged infringement can be located; (iv) a statement indicating your authorization to
 fle a DMCA complaint; (v) how you may be contacted; and (vi) any DMCA notice must also contain the
 following statement:


http://www.dormeo.com/terms-and-conditions.html[4/6/2018 10:52:34 AM]
           Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 57 of 62 PageID #: 298
 I have a good faith belief that use of the copyrighted material described above is not authorized by the
 copyright owner or its agent, nor is such use otherwise permissible under law. I declare, under penalty of
 perjury, that the information presented herein is accurate, that I am authorized to represent the copyright
 holder, and I have a good faith belief that the use is infringing.”

 Last Update: 2/28/13




 TECHNOLOGY                           WARRANTY INFO


 MATTRESS                             REGISTER PRODUCT


 PILLOWS                              PRIVACY POLICY


 REVIEWS                              ACCESSIBILITY


 FAQS                                 TERMS & CONDITIONS

                                                 Copyright © Dormeo 2018 - All Rights Reserved




http://www.dormeo.com/terms-and-conditions.html[4/6/2018 10:52:34 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 58 of 62 PageID #: 299
       SUBSCRIBE                      CONTACT US                CALL US 800-896-2802




                                              HOME          MATTRESS      PILLOWS




    Enter Address or Zip Code:                                           Submit
                                              TECHNOLOGY




        0     Bob Mills Furniture
              3600 West Reno Avenue
              Oklahoma City, OK 73107
              (405) 947-6500
              Mon-Fri 10AM - 9PM | Sat 9AM - 9PM | Sun 12PM - 6PM
              www.bobmillsfurniture.com/


        1     Bob Mills Furniture
              6050 I-40 West
              Amarillo, TX 79106



http://www.dormeo.com/store-locator.html[4/6/2018 10:52:55 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 59 of 62 PageID #: 300
              (806) 353-7277
              Mon-Th 10AM - 8PM | Fr-Sat 10AM - 9PM | Sun 12PM - 6PM
              www.bobmillsfurniture.com/


        2     Bob Mills Furniture
              6000 Spur 327
              Lubbock, TX 79424
              (806) 771-6300
              Mon-Th 10AM - 8PM | Fr-Sat 10AM - 9PM | Sun 12PM - 6PM
              www.bobmillsfurniture.com/


        3     Bob Mills Furniture
              2004 East 42nd Street




 TECHNOLOGY                           WARRANTY INFO


 MATTRESS                             REGISTER PRODUCT


 PILLOWS                              PRIVACY POLICY


 REVIEWS                              ACCESSIBILITY


 FAQS                                 TERMS & CONDITIONS

                                                  Copyright © Dormeo 2018 - All Rights Reserved




http://www.dormeo.com/store-locator.html[4/6/2018 10:52:55 AM]
              Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 60 of 62 PageID #: 301
        SUBSCRIBE                    CONTACT US               CALL US 800-896-2802




                                            HOME        MATTRESS          PILLOWS




                                            TECHNOLOGY


                                        NOT FOUND, ERROR 404
 The page you are looking for no longer exists. Perhaps you can return back to the site's homepage and see if
 you can fnd what you are looking for.




 TECHNOLOGY                          WARRANTY INFO


 MATTRESS                            REGISTER PRODUCT


 PILLOWS                             PRIVACY POLICY


 REVIEWS                             ACCESSIBILITY


 FAQS                                TERMS & CONDITIONS

                                                Copyright © Dormeo 2018 - All Rights Reserved




http://www.dormeo.com/404.html[4/6/2018 10:53:07 AM]
                                                                         Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 61 of 62 PageID #: 302
                                                                                                                                                                              10 Year Limited Mattress
                                                                                       Use and Care                                                                           Warranty • Use and Care
                                                                                       Let your mattress breathe
                                                                                       After your mattress has been delivered please leave the bed uncovered for a
                                                                                       few hours to allow it to breathe and acclimate to your home environment. Your
                                                                                       DORMEO® mattress, with its open air mesh sides, has excellent ventilation and you’ll
                                                                                       enjoy that “clean sheets” feeling night after night.

                                                                                       Use our DORMEO Foundation
                                                                                       If you didn't purchase our Foundation, Bed Divan or Adjustable Base with
Welcome!                                                                               your mattress, please make sure you use a foundation or base that fulfills the
                                                                                       requirements stated in this Warranty.
Thank you for purchasing our DORMEO® mattress. You’ve made an
                                                                                       Protect your new mattress
important step in improving the quality of your sleep and well-being.
                                                                                       We recommend you buy a washable mattress protector to protect your bed from
You are going to love your DORMEO mattress! We believe we’ve created                   accidental spills.
the world’s most comfortable mattress without compromising quality,
                                                                                       DORMEO mattress covers can be spot-cleaned or dry-cleaned. If fluids do soak
support, or the environment.
                                                                                       through, use a dry towel to remove excess moisture and a damp cloth to wipe
Our years of research have resulted in a new technology with all the                   away any stains, then leave the mattress to air dry.
best qualities of memory foam and metal springs, and none of their
                                                                                       If you have any questions, please contact our Customer Service Department at
drawbacks. You will enjoy more comfort, fall asleep faster, spend more
                                                                                       1-800-896-2802 or customer.info@dormeona.com.
time in deep REM sleep and wake up feeling refreshed.

That’s the DORMEO difference—the next generation of mattress.


                                                                                                          LEARN MORE
Jon Stowe
Chief Executive Officer
DORMEO, North America
                                                                                      © 2014 DORMEO N.A. All rights reserved. 0814
                                                                                                                      Case 2:18-cv-00120-RWS Document 31-8 Filed 06/18/18 Page 62 of 62 PageID #: 303
         10 Year Limited Warranty                                                                                                    BED BASES. THEREFORE, IF PURCHASER USES INAPPROPRIATE FOUNDATIONS, BOX SPRINGS, ADJUSTABLE BED BASES,
                                                                                                                                     OR BED FRAMES WITH THIS MATTRESS, SUCH USE WILL VOID THIS LIMITED WARRANTY AND ALL OTHER WARRANTIES,
                                                                                                                                                                                                                                                                               If an individual’s body impression found in a DORMEO mattress is 3/4 of an inch or more in depth and IS NOT associated
                                                                                                                                                                                                                                                                               with use of an improper or unsupportive foundation (or other misuse), it may be covered by the warranty. However,
                                                                                                                                     WHETHER EXPRESSED OR IMPLIED, INCLUDING, WITHOUT LIMITATION, THE IMPLIED WARRANTIES OF MERCHANTABILITY                                    mattress dimensions (length and width) have a ±2% tolerance due to elastic components. This tolerance is considered
DORMEO North America ("DORMEO") provides a ten (10) year express limited warranty for its DORMEO® mattresses (the                    AND FITNESS FOR A PARTICULAR PURPOSE. DORMEO may require purchaser to provide proof of the quality of the foundation,                     normal and does not constitute a defective mattress and is not subject to a warranty claim, whether after short- or long-
“Warranty Period”) which commences ninety (90) days after the original date of delivery. In our sole discretion and option           adjustable bed base, or bed frame used in conjunction with the mattress if purchaser makes a claim under this limited warranty.           term use of the mattress.
during the Warranty Period, we will repair or replace the original purchaser’s DORMEO mattress if it is defective due to             The foundation must provide a solid surface, constructed with appropriate structure. A solid stable surface is not provided by box
faulty workmanship or materials, subject to the limitations described in this warranty. An original proof of purchase receipt        springs, plywood placed on box springs, inappropriate "slats" or foundations that are not built to deliver correct support. See USE &     In the event of an authorized product repair or replacement, the Warranty Period will not be renewed or extended
or online warranty registration is required for any and all warranty claims.                                                         CARE INSTRUCTIONS, included with your mattress. DORMEO reserves the right to invalidate this limited warranty if the foundation is        following the repair or replacement. In short, a repaired or replaced mattress does not reset or in any way alter the
                                                                                                                                     determined, in DORMEO’s reasonable discretion, to be inadequate.                                                                          Warranty Period duration in connection to subsequent warranty claims, if any.
At our option, we will replace or repair defective workmanship or materials at no cost, other than all one-way shipping
(see Shipping and Handling section) to the original purchaser. ONE-WAY SHIPPING AND HANDLING COSTS ARE THE                           The Warranty Does Not Apply To:                                                                                                           Mattress Cover Limited Warranty The mattress cover provided with the mattress is warranted for one (1) year from the
RESPONSIBILITY OF THE ORIGINAL PURCHASER FOR ALL WARRANTY CLAIMS.                                                                      •   Normal product wear and tear as determined in our sole discretion                                                                   original date of purchase to be free of defects in the material or workmanship. DORMEO will replace or repair a cover at
                                                                                                                                       •   A normal increase in the softness of the DORMEO core material                                                                       its option within the one year period at no cost to the original purchaser, excluding return shipping costs.
THIS WARRANTY IS APPLICABLE ONLY TO THE ORIGINAL PURCHASER OF THE DORMEO MATTRESS FROM AUTHORIZED                                      •   The occurrence of mold
RETAILERS AND DIRECT FROM DORMEO. THE ORIGINAL PURCHASE RECEIPT OR A PROPERLY REGISTERED DORMEO MATTRESS                               •   Use of an improper or unsupportive foundation                                                                                       Shipping and Handling Fees The original purchaser is responsible for all one-way shipping and handling fees when
WARRANTY IS REQUIRED FOR ANY WARRANTY CLAIM. MATTRESSES PURCHASED FROM UNAUTHORIZED THIRD-PARTY                                        •   Additional shipping/transportation costs other than stated herein                                                                   returning the mattress or removable mattress cover to DORMEO for any and all warranty claims.
RESELLERS, OR OTHER NON-AUTHORIZED SELLERS (INCLUDING, BUT NOT LIMITED TO, SALES VIA EBAY INC., AMAZON.COM, INC.,                      •   Staining or issues relating to the mattress being used or stored in an unsuitable or unsanitary condition, or issues arising from
ETC.), SHALL RENDER THE WARRANTY NULL AND VOID IN ITS ENTIRETY. THIS WARRANTY DOES NOT APPLY TO FLOOR MODELS                               the failure to use a washable mattress protector.
                                                                                                                                                                                                                                                                               THE REPAIR OR REPLACEMENT AS PROVIDED UNDER THIS EXPRESS LIMITED WARRANTY IS THE EXCLUSIVE REMEDY
OR "DEMOS." DORMEO SHALL NOT BE LIABLE FOR INCIDENTAL OR CONSEQUENTIAL DAMAGES RESULTING FROM THE USE                                                                                                                                                                          OF THE CONSUMER AND IS PROVIDED IN LIEU OF ALL OTHER WARRANTIES, EXPRESS OR IMPLIED. IN NO EVENT
                                                                                                                                     The Warranty is Deemed Null and Void When:
OF THIS PRODUCT OR ARISING OUT OF ANY BREACH OF THIS WARRANTY. THE FOREGOING WARRANTY IS EXCLUSIVE AND                                                                                                                                                                         SHALL DORMEO BE LIABLE, WHETHER IN CONTRACT OR TORT (INCLUDING NEGLIGENCE), FOR DAMAGES IN EXCESS
                                                                                                                                       • The product has been subject to misuse, careless treatment, or physical abuse, as determined in our sole discretion.
NO OTHER WARRANTIES, EXPRESS OR IMPLIED, INCLUDING IMPLIED WARRANTIES OF MERCHANTABILITY AND FITNESS FOR A                                                                                                                                                                     OF THE PURCHASE PRICE OF THE PRODUCT, OR FOR ANY DIRECT, INCIDENTAL, SPECIAL OR CONSEQUENTIAL
                                                                                                                                       • The mattress has not been properly packaged resulting in damage during return shipping.
PARTICULAR PURPOSE, ARE MADE HEREUNDER OTHER THAN THE WARRANTY DESCRIBED HEREIN.                                                                                                                                                                                               DAMAGES OF ANY KIND OR LOSS TO THE FULL EXTENT THAT THESE DAMAGES MAY BE DISCLAIMED BY LAW.
                                                                                                                                       • The original purchaser cannot provide an original proof of purchase receipt, or has not
                                                                                                                                         properly registered the warranty online.
All warranty claims must be submitted in writing to DORMEO describing the nature of the alleged defect, and, in addition, must be
                                                                                                                                                                                                                                             Register                          Some states do not allow the limitation or exclusion of incidental or consequential damages, or limitation on the length
accompanied by photographic evidence of the alleged defect, and proof of purchase or warranty registration. This information         PLEASE RETAIN A COPY OF THIS WARRANTY AND ORIGINAL SALES RECEIPT FOR                                  Your Mattress                       of an implied warranty, and so the above limitations or exclusions may not apply to you. This limited warranty gives you
will be used for evaluation purposes by DORMEO, in its sole discretion. Failure to provide the foregoing materials may result in     FUTURE REFERENCE.                                                                                      Guarantee!                         specific legal rights that vary from state to state, and you may have other rights which may vary from state to state.
rendering the Warranty null and void in DORMEO’s sole discretion.                                                                                                                                                                        Activate your 10 Year Warranty
                                                                                                                                     Additional Information If the original mattress model is not available at the time of               by registering it online. Go to:                                                                DORMEO North America, 1901 10th St., Suite 500, Plano, TX 75074
                                                                                                                                     repair or replacement, DORMEO reserves the right to offer an alternative model of                  Dormeo.com/warrantyregistration
DORMEO mattresses are designed to work on a firm, solid-surface, non-spring foundation or adjustable bed base that is structurally                                                                                                         and fill in the simple form.
capable of supporting the weight of purchaser’s DORMEO mattress and user(s). This limited warranty and other performance             equal quality or value, in its sole discretion.
                                                                                                                                                                                                                                           It will take just a couple of
warranties are based on tests conducted on “sets” that consist of OUR MATTRESSES AND OUR FOUNDATIONS/ADJUSTABLE                                                                                                                               minutes, but will last
                                                                                                                                                                                                                                                    for 10 years!


Cools, Comforts, Cradles                                         TM
                                                                                                                                              Contact our Customer Service Team at 1-800-896-2802 or customer.info@dormeona.com                                                                                                                                             Dormeo.com
